Case No. 1:19-cv-00874-RBJ-MEH Document 777 filed 09/20/22 USDC Colorado pg 1 of 4




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al.,

                   Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

                   Defendant.

   ______________________________________________________________________________

                   STIPULATION OF DISMISSAL WITH PREJUDICE
   ______________________________________________________________________________



                   IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

   counsel of record for all parties, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), that, to the extent any

   claims have not been dismissed with prejudice already by a prior decision or order in this case, all

   claims asserted by Plaintiffs in this action and all counterclaims asserted by Defendants are hereby

   dismissed with prejudice, with each party to bear its own attorneys’ fees and costs.

                   IT IS HEREBY FURTHER STIPULATED AND AGREED, by and between the

   undersigned counsel of record for all parties, that each party hereby waives all rights to appeal any

   issue in this case.
Case No. 1:19-cv-00874-RBJ-MEH Document 777 filed 09/20/22 USDC Colorado pg 2 of 4




    Dated: September 20, 2022

    /s/ David Eiseman                                /s/ Jonathan M. Sperling
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Case No. 1:19-cv-00874-RBJ-MEH Document 777 filed 09/20/22 USDC Colorado pg 3 of 4




   SO ORDERED:

   ______________________
          U.S.D.J.




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Case No. 1:19-cv-00874-RBJ-MEH Document 777 filed 09/20/22 USDC Colorado pg 4 of 4




                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 20, 2022, I caused the foregoing document to

   be filed electronically using the CM/ECF system.


                                                      /s/ Jonathan M. Sperling
                                                      Jonathan M. Sperling




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